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  GOODSILL ANDERSON QUINN & STIFEL
  A LIMITED LIABILITY LAW PARTNERSHIP LLP

  EDMUND K. SAFFERY                 5860-0
     esaffery@goodsill.com
  WAYNE R. WAGNER                 10012-0
     wwagner@goodsill.com
  First Hawaiian Center, Suite 1600
  999 Bishop Street
  Honolulu, Hawaii 96813
  Telephone: (808) 547-5600
  Facsimile: (808) 547-5880
  Attorneys for Plaintiff
  Penn-Star Insurance Company


                 IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

  PENN-STAR INSURANCE                        CIVIL NO. _________________
  COMPANY,                                   (DECLARATORY JUDGMENT)

                    Plaintiff,               COMPLAINT FOR
                                             DECLARATORY JUDGMENT;
        vs.                                  SUMMONS


  YI-SUN CHIU; CHRISTY ZHENG
  LEI; MR. CHIU CONSTRUCTION
  LLC,

                    Defendants.
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                 COMPLAINT FOR DECLARATORY JUDGMENT

               Comes now Plaintiff PENN-STAR INSURANCE COMPANY

 (“PENN-STAR”), by and through its counsel, GOODSILL ANDERSON QUINN

 & STIFEL, and for its Complaint for Declaratory Judgment against the above-

 named Defendants, alleges and avers as follows:

                     PARTIES, JURISDICTION AND VENUE

               1.     This case involves an action for declaratory relief and to resolve

 an actual controversy between the parties as set forth herein.

               2.     Plaintiff PENN-STAR is a stock company incorporated in the

 State of Pennsylvania with its principal place of business in Bala Cynwyd,

 Pennsylvania.

               3.     Upon information and belief, Defendant YI-SUN CHIU

 (“CHIU”), at all times relevant, was and continues to be a resident of the State of

 Hawaiʻi who conducted substantial and systematic business in the State of

 Hawaiʻi, including specific business activities in the State of Hawaiʻi from which

 this action arises as set forth herein.

               4.     Defendant CHRISTY ZHENG LEI (“LEI”), at all times

 relevant, was and continues to be a resident of the State of Hawaiʻi who conducted

 substantial and systematic business in the State of Hawaiʻi, including specific




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 business activities in the State of Hawaiʻi from which this action arises as set forth

 herein.

                5.   Upon information and belief, Defendant MR. CHIU

 CONSTRUCTION LLC (“CHIU CONSTRUCTION”), is a member-managed

 limited liability company incorporated in the State of Hawaiʻi with CHIU as its

 sole member. At all times relevant herein, CHIU CONSTRUCTION conducted

 substantial and systematic business in the State of Hawaiʻi.

                6.   There is complete diversity of citizenship between PENN-

 STAR and Defendants, and the amount in controversy herein exceeds $75,000.

 Accordingly, this Court has original jurisdiction over this matter pursuant to 28

 U.S.C. § 1332.

                7.   PENN-STAR seeks a declaration by this Court pursuant to 28

 U.S.C. § 2201 that it has no obligation under any of the Commercial General

 Liability Policies issued by PENN-STAR for successive periods from January 29,

 2013 to the present (hereinafter referred to as “Each Policy” or “Policies”), to

 defend or indemnify Defendants, for claims asserted against them in the lawsuit

 captioned Galia Oyama et al. v. Yi-Sun Chiu, et al., Civil No. 1CCV-XX-XXXXXXX ),

 currently pending in the Circuit Court of the First Circuit, State of Hawaiʻi

 (“Lawsuit”).




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              8.    There is an actual and continuing controversy between PENN-

 STAR and Defendants, in that Defendants allege PENN-STAR is obligated, under

 the aforementioned Policies, to defend and indemnify them against the claims

 asserted in the Lawsuit.

              9.    All or a substantial portion of the events giving rise to this

 action occurred within the City and County of Honolulu, State of Hawaiʻi.

              10.   Venue lies in this Court pursuant to 28 U.S.C. § 1391.

                            FACTUAL BACKGROUND

             Overview of the Puu Panini Villa Condominium Project

              11.   In February 2014, LEI and a Plaintiff in the Lawsuit, Galia

 Oyama, purchased a parcel located at 4156 Puu Panini Avenue, Honolulu, Hawai’i

 96816 that would become the Puu Panini Villa Project (“Project”). The parcel

 included one preexisting residence that was demolished so the property could be

 developed into an eight-home condominium property regime.

              12.   In exchange for Galia Oyama’s fronting most of the money to

 purchase the parcel, LEI and CHIU agreed to assume full responsibility for

 developing the parcel and building the eight new homes, including all development

 and construction costs to complete the Project.

              13.   By 2016, Galia Oyama and CHIU had agreed to terminate their

 joint ownership of the Project. On July 22, 2016, they entered a Settlement

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 Agreement and Release (“Settlement Agreement”), signed by Galia Oyama, LEI,

 and CHIU, providing that Galia Oyama would receive $3,637,286.00 and the

 residence at 4162 A Puu Panini Avenue, Honolulu, Hawai’i 96816; TMK No. (1)

 3-2-061-042-0005 (the “Oyama Property”), in satisfaction of all monies and loans

 to LEI and in exchange for agreeing to convey Galia Oyama’s fifty-percent (50%)

 interest in the Project to LEI. Under the Settlement Agreement, Galia Oyama

 agreed to take title and ownership of the Oyama Property in “As Is” and “Where

 Is” condition, accepting “full responsibility for any and all interior improvements

 made or construction work she will do to the 4162 A Unit.” Ownership of the

 Oyama Property would be transferred after the Developer’s Public Report was

 issued.

              14.   On August 12, 2016, ownership of the Project Property was

 formally transferred to LEI and CHIU, pursuant to the Settlement Agreement, by

 way of quitclaim deed from LEI and Galia Oyama, recorded as Document No. A-

 60790314.

              15.    On November 14, 2017, the “Puu Panini Villa” Condominium

 Project was subsequently established by the “Declaration of Condominium

 Property Regime of Puu Panini Villa,” recorded as Document No. A-65290750, as

 amended by the “First Amendment to Declaration of Condominium Property




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 Regime of Puu Panini Villa,” dated April 17, 2018, and recorded as Document No.

 A-66810635.

                                 The Oyama Property

              16.    Prior to the Settlement Agreement, CHIU and LEI were

 responsible for and oversaw construction on the home that would become the

 Oyama Property. Various subcontractors assisted CHIU and LEI in the

 development and construction of the Oyama Property.

              17.    By the time the Settlement Agreement was executed on July 22,

 2016, CHIU and LEI had already overseen the completion of about 60% of the

 Oyama Property, including exterior painting and installation of the interior framing

 and drywall. Unfinished work included a small portion of the roof above a patio,

 installation of the flooring, kitchen cabinets, painting of the drywall, bedroom

 closets, and the shower tiles and toilets.

              18.    The parties agreed that CHIU would remain on the building

 permit for the Oyama Property, with CHIU and his subcontractors continuing to

 perform certain work in connection with the Oyama Property in 2017 and 2018,

 including all common element exterior work and utility connections, which

 included the driveway, the concrete slab of the back porch, and the yard work.

              19.    After the Settlement Agreement was executed, the Oyamas

 retained another construction company, HM Construction, to take over as general

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 contractor to complete construction on the rest of the Oyama Property. However,

 HM Construction did not begin work until on or about March 21, 2018.

             20.    Between March and August of 2018, Galia Oyama discovered

 the following alleged defects: defective driveway (discovered in March 2018);

 defective framing and drywall (discovered in August 2018), cracked beam in back

 patio (discovered in August 2018), and cracked concrete slab by entry (discovered

 in August 2018).

             21.    On October 11, 2018, ownership of the Oyama Property was

 transferred by way of Limited Warranty Condominium Deed, Document No. A-

 68660231, to Mark Lee Oyama (undivided 33% interest), Ann Chiang Oyama

 (undivided 33% interest), Craig David Oyama (undivided 33% interest) and Galia

 Yu-Lee (undivided 1% interest), as tenants in common (hereinafter collectively

 referred to as the “Oyamas”).

             22.    On November 7, 2018, the Honolulu Department of Planning

 and Permitting received notification of a change in general contractor from CHIU

 to HM Construction, Inc. for the Oyama Property.

             23.    On July 31, 2019, Galia Oyama wrote to CHIU and LEI

 regarding the aforementioned defects with the Oyama Property and demanding that

 CHIU and LEI pay for their repair. CHIU declined.




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              24.    On or about July 2019, HM Construction remediated the

 alleged defects for which the Oyamas paid approximately $80,000.00.

                                The Shimizu Property

              25.    Construction of another residence at 4162 D Puu Panini

 Avenue, Honolulu, Hawai’i 96816; TMK No. (1) 3-2-061-042-0008 (the “Shimizu

 Property”), was commenced by CHIU and LEI around August 2016. Various

 subcontractors performed work on the Shimizu Property.

              26.    In March of 2018, while Cy and Margaret Shimizu (the

 “Shimizus”) were still negotiating with CHIU and LEI to purchase the property at

 4162 D Puu Panini Avenue, the Shimizus’ home inspector notified the Shimizus of

 several defects, including defective bannister railing on the stairs, defective

 installation of a shower door, defective installation of the dishwasher, substandard

 painting throughout the home, and a defective concrete driveway patch. These

 defects were set forth in a home inspection report, dated March 13, 2018.

              27.    In April of 2018, prior to closing, the Shimizus’ realtor notified

 LEI and CHIU that the Shimizus had “outstanding concerns” regarding the above

 defects.

              28.    On April 20, 2018, ownership of the Shimizu Property was

 transferred to the Shimizus, by Limited Warranty Condominium Deed, Document

 No. A-66910144. Although the Limited Warranty Condominium Deed provided a

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 1-year warranty on materials and workmanship, covering (1) faulty workmanship

 and materials, (2) defects in fixtures and equipment, (3) defects in wiring and

 piping in electrical and plumbing systems, and (4) major structural defects, the

 parties negotiated that the Shimizus would accept a $7,000 credit at closing for the

 “outstanding concerns” raised by their realtor prior to closing.

                29.   Sometime in 2019, the Shimizus allegedly discovered a termite

 infestation.

                30.   On June 1, 2020, the City and County of Honolulu’s

 Department of Planning and Permitting issued a Notice of Violation (Violation No.

 2020/NOV-05/177) to the Shimizus for illegal grading. The Notice stated that the

 Shimizus would be assessed a daily fine of $50.00, until corrective action was

 completed. However, upon information and belief, to date, no fines have been

 imposed because CHIU obtained an active grading permit to correct the issue.




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          The Oyamas’ and Shimizus’ November 18, 2020 Demand Letter

               31.    On November 18, 2020, the attorney for the Oyamas and

  Shimizus sent CHIU and LEI a demand letter and notice of claim pursuant to HRS

  Chapter 672E, the Hawaii Contractor Repair Act 1 (“November 18, 2020 Demand

  Letter”). The Oyamas’ and Shimizus’ November 18, 2020 Demand Letter

  provided a draft of the Complaint eventually filed in the Lawsuit, noted the defects

  described above, and stated that suit would be filed in 90 days if a resolution was

  not reached. The November 18, 2020 Demand Letter also warned that the Oyamas

  and Shimizus would seek treble and punitive damages, as well as fees and costs, if

  they were forced to file suit.

               32.    Apparently unable to reach a resolution, the Oyamas and

  Shimizus initiated the Lawsuit on March 1, 2021 by filing their Complaint against

  Defendants CHIU, LEI, and CHIU CONSTRUCTION.

                         Factual Allegations in The Complaint

               33.    Consistent with the above facts, the Complaint alleges that

  Galia Oyama, Mark Oyama, Ann Oyama, Craig Oyama, Cy Shimizu, and

  Margaret Shimizu (collectively “Oyama/Shimizu Plaintiffs”) are owners of real


  1
         The Hawaii Contractor Repair Act requires a claimant to provide written
  notice of a claim at least 90 days before filing suit in order to give the contractor
  the opportunity to remediate the work and avoid additional expenses and damages
  related to litigation. HRS § 672E-3.

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  property at 4162 A and 4162 D Puu Panini Avenue, respectively, situated in the

  condominium project known as Puu Panini Villa, and that CHIU and CHIU

  CONSTRUCTION acted as the general contractor on the Project.

               34.    The Complaint alleged that Defendants CHIU, CHIU

  CONSTRUCTION, and LEI were responsible for defective framing, drywall and

  taping at the Oyama property, which caused extensive cracking that required

  replacement, and also responsible for defects in the concrete slabs in the driveway,

  front entrance and rear patio.

               35.    The Complaint also alleged that CHIU, CHIU

  CONSTRUCTION, and LEI were responsible for several defects in the Shimizu

  property, including poor installation of appliances and defective shower doors, a

  continuing termite infestation in the cabinets, and illegal grading of their property

  resulting in a Notice of Violation from the City & County of Honolulu on June 1,

  2020, assessing a daily fine of $50.00 for the continuing violation.

               36.    The Complaint further alleged that CHIU, CHIU

  CONSTRUCTION, and LEI breached written and verbal promises to the

  Oyama/Shimizu Plaintiffs that they would perform the required repairs and satisfy

  all of their foregoing obligations.

               37.    The Complaint alleged that, as a result of CHIU’s, CHIU

  CONSTRUCTION’s, and LEI’s acts and omissions, the Oyama/Shimizu Plaintiffs

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  have suffered emotional, physical, and monetary damages, including but not

  limited to repair costs for damage to the Oyama/Shimizu Plaintiffs’ respective

  properties.

                38.   In their prayer for relief, the Oyama/Shimizu Plaintiffs request

  an order directing CHIU, CHIU CONSTRUCTION, and LEI to fulfill each

  contractual obligation and promise, as well as an award of actual, special,

  contemporary, consequential and/or incidental damages, treble damages pursuant

  to HRS § 480-13(a)(1), punitive damages, pre- and post-judgment interest, and

  attorney’s fees.

        Procedural History and CHIU’s and LEI’s Late Notice and Tender

                39.   CHIU and LEI apparently tendered the claim to Underwriters

  Specialty Insurance Company (“Underwriters Specialty”) under a policy issued by

  Underwriters Specialty, who retained counsel for CHIU and LEI.

                40.   Shortly after the filing of the Lawsuit, CHIU and LEI’s counsel

  filed a responsive pleading on their behalf. However, it appears that Underwriters

  Specialty did not retain counsel on behalf of CHIU CONSTRUCTION. No

  responsive pleading was filed on behalf of CHIU CONSTRUCTION, which, as a

  result, had default judgment entered against it on or about May 24, 2021.

                41.   On January 24, 2022, nearly a year after the lawsuit was filed,

  CHIU and LEI tendered their defense to PENN-STAR against the claims alleged in

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  the Lawsuit, via letter from their litigation counsel, dated January 19, 2022. This

  was the first notice PENN-STAR received in connection with the underlying

  events, demands, or claims relating to this Lawsuit.

               42.    PENN-STAR is defending CHIU and LEI in the Lawsuit

  subject to a full and complete reservation of its rights under the Policies.

                               The PENN-STAR Policies

               43.    PENN-STAR issued nine Commercial General Liability

  Policies to CHIU for successive periods from January 29, 2013 to the present.2

               44.    Each Policy provides that PENN-STAR will have the right and

  duty to defend the insured(s) against any “suit” seeking” damages for “property

  damage”; however, PENN-STAR will have no duty to defend the insured(s)

  against any “suit” seeking damages for “property damage” to which this insurance

  does not apply. The Policies contain commercial general liability coverage with

  $2,000,000 policy aggregates, and with limits of liability in the amount of

  $2,000,000 for products-completed operations and $1,000,000.00 per occurrence.

               45.    Each Policy lists CHIU as the sole “Named Insured,” and

  provides in relevant part:

        SECTION II - WHO IS AN INSURED


  2
         The Policies generally have identical coverage. Relevant differences, if any,
  will be noted herein when necessary.

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         1. If you are designated in the Declarations as:

             a. An individual, you and your spouse are insureds, but only with
                respect to the conduct of a business of which you are the sole owner.

                                          *****

  LEI is listed as an Additional Insured on the 2015-2016 and 2017-2018 PENN-

  STAR Policies.

               46.   None of the Policies list CHIU CONSTRUCTION as an

  insured in the Declarations or on any Additional Insured endorsements. Each

  Policy additionally provides that “No person or organization is an insured with

  respect to the conduct of any current or past partnership, joint venture or limited

  liability company that is not shown as a Named Insured in the Declarations.”

               47.   The Policies also contain the same notice requirements. The

  notice requirements under Section IV.2 provide that the insured(s) must notify

  PENN-STAR “as soon as practicable of an ‘occurrence’ or an offense which may

  result in a claim”; as well as notify PENN-STAR immediately of a claim or suit

  brought against any insured(s).

               48.   The Policies contain several exclusions applicable to this

  matter, including without limitation a “Limited Exclusion – Condominium,

  Cooperative, Town House, Row House, Tract House, Mixed Use, or Conversion”

  which provides, in relevant part:


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        I. This insurance does not apply to:

            A. “bodily injury” or “property damage” to or arising out of “your
               work” or “your product” when such work or product is part of or is
               incorporated into any “condominium”, “cooperative”, “town house”,
               “row house”, “tract house”, “condominium conversion”, “cooperative
               conversion”, “mixed use project”, and any such structure qualifies as
               “newly built”;

            B. “bodily Injury” or “property damage” to or arising out of “your
               work” or “your product” when such work or product is part of or
               incorporated into “common areas” associated with any structure
               listed in Paragraph A., above.
        II. This exclusion does not apply to “bodily injury” or “property damage”
            arising out of “your work” or “your product” when such work or product
            is part of or is incorporated in ten (10) or less “tract houses” qualifying
            as “newly built”, and provided that the “tract house development
            project” size conditions cited in A. and B. of this paragraph are both
            met:

            A. The ten (10) or less “tract houses” are built in a “tract house
               development project” comprised of a piece or parcel of land
               subdivided into ten (10) or less lots, parcels, or other, or other
               divisions of land, for the development/building and sale of ten (10) or
               less freestanding one, two, three or four family dwellings; and
            B. The ten (10) or less “tract houses” are not a part of or incorporated
               into any larger “tract house development project” comprised of a
               piece or parcel of land subdivided into more than ten (10) lots,
               parcels, or other divisions of land, for the development/building and
               sale of more than ten (10) freestanding one, two, three or four family
               dwellings.

               ….

        IV. The following is added to SECTION V - DEFINITIONS:

               ….

            C. “Condominium” means a form of residential property ownership in


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                which each owner holds title to his/her individual unit, plus a
                fractional interest in the common areas of the multi-unit project.

                 ….
             H. “Newly built” means a structure never previously occupied, except
                in the case of a “condominium conversion” where the converted
                “condominium” unit was never previously occupied as a
                condominium or a “cooperative conversion” where the
                “cooperative” was never previously occupied as a “cooperative”.

                 ….
             K. “Tract house” is a house that is part of a “tract house development
                project”.
             L. “Tract house development project” is comprised of a piece or parcel
                of land subdivided into lots, parcels, or other divisions of land, for
                the development/building and sale of freestanding one, two, three or
                four family dwellings.
        All other terms and conditions of the policy apply.
                                            *****

              49.     The Policies also contain an “Exterior Insulation and Finish

  System” endorsement, which provides, in relevant part, as follows:

        A. This insurance does not apply to “bodily injury”, “property damage” or
           “personal and advertising injury” arising out of, caused by, or
           attributable to, whether in whole or in part, the following:

            1. The design, manufacture, construction, fabrication, preparation,
               distribution and sale, installation, application, maintenance or repair,
               including remodeling, service, correction or replacement, of any
               “exterior insulation and finish system” or any part thereof, or any
               substantially similar system or any part thereof, including the
               application or use of conditioners, primers, accessories, flashings,
               coatings, caulking or sealants in connection with such a system; or


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            2. “Your product” or “your work” with respect to any exterior
               component, fixture or feature of any structure if an “exterior
               insulation and finish system”, or any substantially similar system, is
               used on the part of that structure containing that component, fixture
               or feature.

                                             *****

              The Policies define “exterior insulation and finish system” as:

        a non-load bearing exterior cladding or finish system, and all component
        parts therein, used on any part of any structure, and consisting of:

              1. A rigid or semi-rigid insulation board made of expanded
                 polystyrene and other materials;

              2. The adhesive and/or mechanical fasteners used to attach the
                 insulation board to the substrate;

              3. A reinforced or unreinforced base coat;

              4. A finish coat providing surface texture to which color may be
                 added; and

              5. Any flashing, caulking or sealant used with the system for any
                 purpose[.]

              50.    In addition, the Policies contain a “Total Exclusion –

  Professional Services”, which provides:

        I. With respect to “professional services” the following exclusion is added
           to Paragraph 2., Exclusions of Section I - Coverage A - Bodily Injury
           And Property Damage Liability and Paragraph 2., Exclusions of
           Section I - Coverage B - Personal And Advertising Injury Liability:

           This insurance does not apply to “bodily injury”, “property damage” or
           “personal and advertising injury” due to “wrongful acts”.

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        II. As used in this endorsement the following definitions are added to
            SECTION V – DEFINITIONS

            A. “Professional services” means any and all services performed for
               others requiring special skills, experience and knowledge.

            B. “Wrongful act” means any actual or alleged negligent act, error,
               omission, misstatement, or misleading statement committed by the
               insured or by any other person or entity for which the insured is
               legally liable in the performance of or failure to perform
               “professional services”.

              51.    Section I of the Policies contain several other applicable

  exclusions, including without limitation Exclusions 2b, 2j, and 2l:

              52.    Exclusion 2b states in relevant part:

         2. Exclusions

           This insurance does not apply to:

                     ….

              b. Contractual Liability

                “Bodily injury” or “property damage” for which the insured is
                obligated to pay damages by reason of the assumption of liability in
                a contract or agreement. This exclusion does not apply to liability
                for damages:

                (1) That the insured would have in the absence
                    of the contract or agreement[.]

                                         *****

              53.    Exclusion 2j states as follows:



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        2. Exclusions

           This insurance does not apply to:

                    ….

             j. Damage To Property

               “Property damage” to:

               (1) Property you own, rent, or occupy, including any costs or
                   expenses incurred by you, or any other person, organization or
                   entity, for repair, replacement, enhancement, restoration or
                   maintenance of such property for any reason, including
                   prevention of injury to a person or damage to another's property;

                    ….

               (5) That particular part of real property on which you or any
                   contractors or subcontractors working directly or indirectly on
                   your behalf are performing operations, if the “property damage”
                   arises out of those operations;

                    ….

               (6) That particular part of any property that must be restored,
                   repaired or replaced because “your work” was incorrectly
                   performed on it.

                    ….

                    Paragraph (6) of this exclusion does not apply to “property
                    damage” included in the “products completed operations
                    hazard”.

                                           *****

              54.   Exclusion 2l states as follows:



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        2. Exclusions

            This insurance does not apply to:

                        ….

               l. Damage To Your Work

                     “Property damage” to “your work” arising out of it or any part of it
                     and included in the “products ­ completed operations hazard”.

                     This exclusion does not apply if the damaged work or the work out
                     of which the damage arises was performed on your behalf by a
                     subcontractor.

                                           *****

               55.      Each Policy also contains an “other insurance” provision which

  provides that each Policy’s coverage is excess over other collectible insurance.

  Section IV(4)(b)(1) of the Policies state, in relevant part:

                        (1) This insurance is excess over:

                             (a) Any of the other insurance, whether primary,
                                 excess, contingent or on any other basis:

                                (i) That is Fire, Extended Coverage, Builder’s
                                    Risk, Installation Risk or similar coverage for
                                    “your work”;

                               (ii) That is Fire insurance for premises rented to
                                    you or temporarily occupied by you with
                                    permission of the owner;

                               (iii) That is insurance purchased by you to cover
                                     your liability as a tenant for “property damage”
                                     to premises rented to you or temporarily

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                                   occupied by you with permission of the owner;
                                   or
                                         ….

                           (b) Any other primary insurance available to you
                               covering liability for damages arising out of the
                               premises or operations, or the products and
                               completed operations, for which you have been
                               added as an additional insured.

                       (2) When this insurance is excess, we will have no duty
                           under Coverages A or B to defend the insured against
                           any "suit" if any other insurer has a duty to defend
                           the insured against that "suit". If no other insurer
                           defends, we will undertake to do so, but we will be
                           entitled to the insured's rights against all those other
                           insurers.

                                          *****

                              STATEMENT OF CLAIM

               56.    PENN-STAR repeats, reiterates and realleges each and every

  allegation contained in paragraphs 1-55 above as though fully set forth herein.

               57.    Coverage under the PENN-STAR Policies for the claims

  alleged against the Defendants in the Lawsuit, which is currently pending in the

  Circuit Court of the First Circuit of the State of Hawaiʻi, is precluded in its entirety

  on the grounds as set forth below.

               58.    The Policies’ “Limited Exclusion – Condominium,

  Cooperative, Town House, Row House, Tract House, Mixed Use, or Conversion”

  precludes coverage for the following reasons:

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                     A.     This “Limited Exclusion – Condominium, Cooperative,

        Town House, Row House, Tract House, Mixed Use, or Conversion”

        precludes coverage for property damage to or arising out of “Your Work”3

        on a newly built condominium property.

                     B.     As alleged in the Complaint, the property damage to the

        Oyama and Shimizu Properties arose from work or operations performed by

        or on CHIU’s behalf, in other words, “Your work”. In addition, the public

        records such as the limited warranty condominium deeds for the Oyama and

        Shimizu Properties, recorded as Document No. A-60790314 and Document

        No. A-68660231, respectively, and the “Declaration of Condominium

        Property Regime of Puu Panini Villa, recorded as Document No. A-

        66810635, indicate that the Puu Panini Project is a condominium property

        regime, as also alleged in the Complaint. The Oyama Property and Shimizu

        Property also were “newly built,” as shown by publicly available property

        records indicating the structures for the Oyama and Shimizu Properties were




  3
        Under Section V.22, “Your work” means “(1) work or operations performed
  by you [i.e., CHIU] or on your behalf; and (2) Materials, parts or equipment
  furnished in connection with such work or operations[… and] includes (1)
  Warranties or representations made at any time with respect to the fitness, quality,
  durability, performance or use of ‘your work’; and (2) The providing of or failure
  to provide warnings or instructions.”

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        built in and around 2016 on a lot that had been previously vacant except for

        a demolished structure.

                     C.     Given the foregoing, it is clear that PENN-STAR is

        entitled to a declaration that the Policies’ “Limited Exclusion –

        Condominium, Cooperative, Town House, Row House, Tract House, Mixed

        Use, or Conversion” precludes coverage in its entirety.

               59.   Coverage under the PENN-STAR Policies for the claims

  alleged in the Lawsuit is further precluded under the Policies’ Notice of

  Occurrence, Claim, or Suit provisions for the following reasons:

                     A.     The Policies’ notice requirements obligated CHIU to

         notify PENN-STAR “as soon as practicable of an ‘occurrence’ or an

         offense which may result in a claim” as well as a claim or “suit” brought

         against Chiu.

                     B.     In 2018 and 2019, CHIU was warned by the Oyamas and

         Shimizus of the various construction issues, but failed to notify PENN-

         STAR as required by the Policies

                     C.     On or around November 18, 2020, the Oyamas and

         Shimizus placed CHIU and LEI on notice of a potential lawsuit by way of

         their November 18, 2020 Demand Letter, sent pursuant to the Hawaii

         Contractor Repair Act, HRS chapter 672E. In accordance with Hawaii law,

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         the letter was intended to provide CHIU with the opportunity to remediate

         the work, so as to avoid unnecessary expenses and liability related to

         litigation.

                       D.   The Oyamas and Shimizus filed the Lawsuit on March 1,

         2021.

                       E.   CHIU and LEI unreasonably waited over one year after

         receiving written notice of a potential lawsuit and waited almost a full year

         after the Lawsuit was filed to first notify PENN-STAR of the potential

         occurrence(s), claim(s), and suit via their letter of tender dated January 24,

         2022.

                       F.   PENN-STAR was substantially prejudiced because, had

         CHIU and LEI provided timely notice of this matter to PENN-STAR, the

         dispute could have been resolved for a smaller sum, including lower costs

         of repair. Under these circumstances, CHIU and/or LEI materially

         breached the Policy conditions by failing to timely notify PENN-STAR of

         the November 18, 2020 Demand Letter prior to the Lawsuit, and again by

         failing to timely notify PENN-STAR of this matter immediately after the




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         Lawsuit was filed, which breaches resulted in substantial prejudice to

         PENN-STAR.

                       G.    Moreover, PENN-STAR is not responsible for any

          defense costs that have been incurred by CHIU and LEI prior to PENN-

          STAR’s having received notice of the Lawsuit on or about January 24,

          2022.

               60.     Alternatively, coverage under the PENN-STAR Policies for the

  claims alleged in the Lawsuit is precluded by Exclusion 2j(1) of the Policies for the

  following reasons:

                       A.    Exclusion 2j(1) excludes damage that occurs to property

          that CHIU owned at the time that the property damage occurred. Under

          Exclusion 2j, this insurance does not apply to “property damage” to

          “Property you own, rent, or occupy, including any costs or expenses

          incurred by you, or any other person, organization or entity, for repair,




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         replacement, enhancement, restoration or maintenance of such property for

         any reason…[.]”

                    B.     CHIU and LEI owned the Oyama Property until Oct. 11,

         2018, when they transferred title to the Oyamas via limited warranty

         condominium deed.

                    C.     The Oyamas admit that they discovered the property

         damage at issue in March and August 2018 (defective driveway

         (discovered in March 2018), defective framing and drywall (discovered in

         August 2018), cracked beam in back patio (discovered in August 2018),

         and cracked concrete slab by entry (discovered in August 2018), in other

         words, while CHIU and LEI still owned the property. Given the foregoing,

         Exclusion 2j excludes damage to the Oyama property because the property

         damage took place when CHIU still owned the property.

                    D.     Similarly, CHIU and LEI owned the Shimizu Property

         until April 20, 2018, when they transferred title via limited warranty

         condominium deed. As the facts described above show, the Shimizus

         identified the property damage, apart from the grading violation and

         termite infestation, prior to CHIU and LEI’s transfer of ownership to them

         in April 2018. In addition, upon information and belief, the defective

         grading and termite infestation of the Shimizu Property occurred prior to

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          the transfer of title. These circumstances indicate that Exclusion 2j

          excludes damage to the Shimizu property because the property damage

          took place when CHIU still owned the property.

               61.   Alternatively, coverage under the PENN-STAR Policies for the

  claims alleged in the Lawsuit is precluded by Subparagraphs (5) and (6) of

  Exclusion 2j, which preclude coverage for property damage to

               “[t]hat particular part of real property on which you or any contractors

               or subcontractors working directly or indirectly on your behalf are

               performing operations, if the “property damage” arises out of those

               operations”; or

               ….

               “[t]hat particular part of any property that must be restored, repaired

               or replaced because ‘your work’ was incorrectly performed on it,” so

               long as the “property damage” is not included in the “products

               completed operations hazard”.

               62.   Coverage under the PENN-STAR Policies for the claims

  alleged in the Lawsuit is further precluded by Exclusion 2l of the Policies relating

  to “Damage To Your Work” to the extent that the property damage arose out of

  CHIU’s work on the property after CHIU’s work was completed or abandoned.




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               63.   Coverage under the PENN-STAR Policies for the claims

  alleged in the Lawsuit is also precluded by the Exterior Insulation and Finish

  System Exclusion. This exclusion precludes coverage for property damage to a

  non-load bearing exterior cladding or finish system, and all component parts

  therein, used on any part of any structure. Under this exclusion, the PENN-STAR

  Policies do not provide coverage for property damage arising from the drywall

  cracking and defective framing to the Oyama Property.

               64.   Coverage under the PENN-STAR Policies for the claims

  alleged in the Lawsuit is also precluded by the “Total Exclusion – Professional

  Services” Exclusion insofar as the alleged damage is based on services performed

  requiring special skills, experience and knowledge, such as the surveying and

  grading of the Shimizu Property, as well as other professional services relating to

  the construction and development of the Oyama and Shimizu Properties.

               65.   Coverage under the PENN-STAR Policies for the claims

  alleged in the Lawsuit is also precluded by Exclusion 2b relating to contractual

  liability insofar as CHIU and LEI breached various contractual requirements,

  including by refusing to perform repair work as promised.

               66.   Coverage under the PENN-STAR Policies for the claims

  alleged against CHIU CONSTRUCTION is precluded because CHIU

  CONSTRUCTION is not an “Insured”, including an “Additional Insured”, under

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  the Policies. Even if CHIU CONSTRUCTION were an Insured or Additional

  Insured under the Policies, coverage would be precluded for all of the reasons set

  forth herein.

                  67.   Coverage under the PENN-STAR Policies for the claims

  alleged in the Lawsuit is also precluded to the extent the coverage, if any, provided

  by the PENN-STAR Policies is “excess” to any other insurance available to

  Defendants, including the insurance available to Defendants under the

  Underwriters Specialty policy which, upon information and belief, has been

  providing a defense to CHIU and LEI since the Lawsuit was filed.

                  68.   The PENN-STAR Policies do not provide coverage for punitive

  damages.

                  69.   The PENN-STAR Policies also do not provide coverage insofar

  as the Lawsuit seeks injunctive relief in the form of an order directing Defendants

  to fulfill each contractual obligation and promise they made to the Oyamas and

  Shimizus.

                  70.   Coverage is or may be precluded by other provisions or

  exclusions contained in the PENN-STAR Policies.

                  WHEREFORE, PENN-STAR PLEADS FOR RELIEF AS

  FOLLOWS:




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              A.     For a declaratory judgment by this Court finding that PENN-

  STAR has no duty to defend or indemnify Defendants for the claims asserted in the

  Lawsuit.

              B.     For reimbursement of defense costs incurred to date by PENN-

  STAR in defending Defendants against the claims alleged in the Lawsuit.

              C.     For reimbursement of any amounts paid by PENN-STAR in

  judgment or settlement of the claims alleged against Defendants in the Lawsuit.

              D.     For PENN-STAR’s attorneys’ fees and costs incurred in this

  declaratory judgment action.

              E.     For such other relief as the Court may deem just and

  appropriate under the circumstances.

               DATED: Honolulu, Hawaii, August 15, 2022.



                                               /s/ Wayne R. Wagner
                                               EDMUND K. SAFFERY
                                               WAYNE R. WAGNER

                                               Attorneys for Plaintiff
                                               PENN-STAR INSURANCE
                                               COMPANY




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